                       Case 4:18-cv-01165-JSW Document 7
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AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                        for the
                                                       NorthernDistrict
                                                    __________ Districtof
                                                                        of__________
                                                                          California


BALTAZAR AVALOS, individually and on behalf of all                               )
           others similarly situated,                                            )
                                                                                 )
                                                                                 )
                            Plaintiff(s)                                         )
                                                                                 )
                                v.                                                                    Civil Action No. 4:18-cv-01165-JSW
                                                                                 )
         BITCONNECT INTERNATIONAL PLC,                                           )
                (See Schedule A)                                                 )
                                                                                 )
                                                                                 )
                           Defendant(s)                                          )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) See Attachment A




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: Rosemary Rivas
                                           Levi & Korsinsky, LLP
                                           44 Montgomery Street, Suite 650
                                           San Francisco, CA, 94104
                                           415-291-2420


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



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                                                                                                                Susan Y. Soong
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Date:             02/26/2018
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                                                                                 ST R I T O F C
                                                                                       C                               Signature of Clerk or Deputy Clerk
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 Civil Action No. 4:18-cv-01165-JSW

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           ’ I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           ’ I returned the summons unexecuted because                                                                              ; or

           ’ Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:




           Print                       Save As...                                                                      Reset
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Civil Action No. 4:18-cv-01165-JSW
                                     SCHEDULE A
BITCONNECT INTERNATIONAL PLC, BITCONNECT LTD., BITCONNECT TRADING
LTD., JOSHUA JEPPESEN, GLENN ARCARO, TREVON BROWN A/K/A TREVON
JAMES, RYAN HILDRETH, CRAIG GRANT, JOHN DOE 1 A/K/A NICHOLAS TROVATO
A/K/A CRYPTONICK, and RYAN MAASEN,


             Defendants.
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Civil Action No. 4:18-cv-01165-JSW
                                     Attachment A
Bitconnect International PLC               Bitconnect Ltd.
Grant Thornton House                       The Panorama
22 Melton Street                           Park Street
Kings Cross                                Ashford, United Kingdom TN24 8EZ
London, United Kingdom NW 1 2EP

Bitconnect Trading Ltd.                    Glenn Arcaro
23 St. Elizabeth Avenue                    4089 Pine Hollow Place
Bootie, United Kingdom L20 6FA             Moorpark, CA 93021-3122

John Doe 1 A/K/A Nicholas Trovato A/K/A    Ryan Maasen
Cryptonick                                 10129 S. Marion Avenue
16 Caryn Place                             Tusla, OK 74137
Fairfield, NJ 07004
